






						NO. 12-07-00485-CR



IN THE COURT OF APPEALS
	


TWELFTH COURT OF APPEALS DISTRICT



TYLER, TEXAS


JERRY W. SASH,§
		APPEAL FROM THE 114TH

APPELLANT


V.§
		JUDICIAL DISTRICT COURT OF


THE STATE OF TEXAS,

APPELLEE§
		SMITH COUNTY, TEXAS

                                                                                                                                                            

MEMORANDUM OPINION


	Jerry W. Sash appeals his conviction for aggravated sexual assault of a child.  In his sole 
issue, Appellant argues that the evidence was factually insufficient to support his conviction.  We
affirm.


Background

	Appellant was charged by indictment with aggravated sexual assault of a child, a first degree
felony. (1)  The indictment contained two felony enhancement paragraphs.  At a bench trial, the child
complainant, C.P., testified that he was ten years old.  He stated that on the date of the offense, he left
school at approximately 3:00 p.m. and rode the bus home with his two of his friends, J.B.1 and J.B.2,
who were brothers. (2)  Then, he went to his grandmother's apartment to put up his books and backpack. 
Shortly thereafter, he met the same two friends at the playground, and they began playing "tag."  C.P.
testified that a man, whom he identified as Appellant, came to the playground and leaned on the
fence.  C.P. said that Appellant told J.B.1 and J.B.2 to leave and they did so.  He admitted that after
his friends left, he asked Appellant if he could have some money to buy a video game.  Appellant told
C.P. that he would get it another day because he did not have change for twenty dollars.  Appellant
then told C.P. to "come to my house," but did not give C.P. a reason. 

	A few minutes after entering Appellant's apartment, Appellant told C.P. to sit on the couch
and to take his pants down.  C.P. complied because he was afraid and believed Appellant was going
to hurt him.  C.P. stated that Appellant "sucked my private part."  C.P. told Appellant he had to go
to the restroom, but instead ran to his grandmother's house, crying.  He explained that he told
Appellant he had to go to the restroom so that he could get out of the apartment.  C.P. testified that
the couch in Appellant's house was tan with green on it and that he had a coffee table and a kitchen
table.  He also stated that Appellant's house "smelled good" from "smell sticks." 

	C.P. said that after he arrived at his grandmother's house, he went into the bathroom and
washed himself, because he did not want Appellant's germs on him.  Afterward, he went into his
grandmother's closet in the bathroom because he was upset.  When C.P.'s grandmother checked on
him, he told her what had happened.  C.P. also stated that he told the police and a nurse at the hospital
about the incident.  He stated further that he washed himself again at the hospital. 

	C.P. showed the police where the incident occurred, but could not remember what kind of
clothing Appellant was wearing.  He stated that the police showed him a "photo line up" and that he
circled one of the photographs.  C.P. said that he had seen Appellant about four times before this
incident.  At those times, Appellant was in his front or back yard and C.P. once observed Appellant
sitting in a green chair on his porch.  He admitted that one time he got off the school bus and noticed
Appellant standing in his front yard.  Appellant told C.P. that he "look[ed] like a good kid."

	After the trial concluded, Appellant was found guilty as charged in the indictment.  The trial
court assessed his punishment at life imprisonment. (3)  This appeal followed.


Evidentiary Sufficiency

	In his sole issue, Appellant argues that the evidence was factually insufficient to support his
conviction.

Standard of Review

	In conducting a factual sufficiency review of the evidence supporting the jury's verdict, we
consider all of the evidence weighed by the jury that tends to prove the existence of the elemental fact
in dispute and compare it to the evidence that tends to disprove that fact.  See Santellan v. State, 939
S.W.2d 155, 164 (Tex. Crim. App. 1997).  Ultimately, we must ask whether a neutral review of all
the evidence, both for and against the finding, demonstrates that the proof of guilt is so obviously
weak as to undermine our confidence in the jury's determination, or the proof of guilt, although
adequate if taken alone, is greatly outweighed by contrary proof.  Johnson v. State, 23 S.W.3d 1, 11
(Tex. Crim. App. 2000); see also Ortiz v. State, 93 S.W.3d 79, 87 (Tex. Crim. App. 2002) (a verdict
will be set aside "only if the evidence supporting guilt is so obviously weak, or the contrary evidence
so overwhelmingly outweighs the supporting evidence, as to render the conviction clearly wrong and
manifestly unjust"); see Sims v. State, 99 S.W.3d 600, 601 (Tex. Crim. App. 2003).  A clearly wrong
and manifestly unjust verdict occurs where the jury's finding "shocks the conscience" or "clearly
demonstrates bias." Jones v. State, 944 S.W.2d 642, 648 (Tex. Crim. App. 1996).

	Although we are authorized to disagree with the factfinder's determination, even if probative
evidence exists that supports the verdict, see Clewis v. State, 922 S.W.2d 126, 133 (Tex. Crim. App.
1996), our evaluation should not substantially intrude upon the fact finder's role as the sole judge of
the weight and credibility of witness testimony.  Santellan, 939 S.W.2d at 164.  It is not enough that
we might harbor a subjective level of reasonable doubt to overturn a conviction that is founded on
legally sufficient evidence.  See Watson v. State, 204 S.W.3d 404, 417 (Tex. Crim. App. 2006).
Where there is conflicting evidence, the fact finder's verdict on such matters is generally regarded
as conclusive.  See Van Zandt v. State, 932 S.W.2d 88, 96 (Tex. App.-El Paso 1996, pet. ref'd).  We
cannot declare that a conflict in the evidence justifies a new trial simply because we disagree with
the fact finder's resolution of the conflict.  See Watson, 204 S.W.3d at 417. 

	Further, in order to evaluate factual sufficiency, we should measure elements of the offense
as defined in a hypothetically correct jury charge for the case.  Grotti v. State, 273 S.W.3d 273, 280-81 (Tex. Crim. App. 2008).  This charge accurately promulgates the law, is authorized by the
indictment, does not unnecessarily increase the state's burden of proof or restrict the state's theories
of liability, and adequately describes the particular offense for which the defendant was tried.  Id.

Applicable Law

	A person commits the offense of aggravated sexual assault if he intentionally or knowingly
causes the sexual organ of a child to contact or penetrate the mouth, anus, or sexual organ of another
person, including the actor, and the victim is younger than fourteen years of age.  See Tex. Penal
Code Ann. § 22.021 (a)(1)(B)(iii), (2)(B) (Vernon Supp. 2008).  A conviction under section 22.021
of the Texas Penal Code is supportable on the uncorroborated testimony of the victim of the sexual
offense if the victim informed any person, other than the defendant, of the alleged offense within one
year after the date on which the offense is alleged to have occurred.  Tex. Code Crim. Proc. Ann.
art. 38.07(a) (Vernon 2005). However, the requirement that the victim inform another person of an
alleged offense does not apply if, at the time of the alleged offense, the victim was a person seventeen
years of age or younger.  Tex. Code Crim. Proc. Ann. art. 38.07(b)(1) (Vernon 2005). 

Analysis

	Appellant argues that the evidence was factually insufficient to support his conviction because
C.P.'s testimony was "riddled with inconsistencies" and "lacked any semblance of credibility." 
Specifically, Appellant points out that C.P. erred in describing the interior of Appellant's apartment
and did not explain why he went into Appellant's apartment.  He also asserts that C.P.'s testimony
lacked physical or testimonial support or corroboration, and that C.P.'s testimony contradicted his
friends' testimony.  However, the uncorroborated testimony of a child sexual assault victim is
sufficient to support a conviction for sexual assault.  See  Tex. Code Crim. Proc. Ann. art. 38.07(a). 
Further, our review of the factual sufficiency of the evidence must not substantially intrude upon the
fact finder's role as the principal judge of the weight and credibility of witness testimony.  See
Santellan, 939 S.W.2d at 164.  And where there is conflicting evidence, the fact finder's verdict on
such matters is generally regarded as conclusive.  See Van Zandt, 932 S.W.2d at 96.

	Here, there were some variations between C.P.'s testimony at trial and his initial account to
the police.  In describing Appellant's apartment, C.P. stated that he could not remember telling the
police that he saw green lawn chairs on Appellant's porch on the day of the incident.  According to
Kerri Long, a detective with the Tyler Police Department, C.P. told her there was a green lawn chair
on Appellant's porch.  However, she did not find any such chairs on Appellant's porch.  C.P. testified
that in Appellant's living room there were two tan couches with "green on it," a coffee table with a
glass top and a flowerpot in front of the couches, and a wood, tan, and gold kitchen table.  He did not
recall telling the police that the couch was white with gold and green stripes.  However, C.P.
remembered that he stated the couch had flowers and green, but not white.  He also admitted that he
may be "getting gold and tan mixed up with each other."  According to Long, C.P. stated that the
couch was gold with either green stripes or green flowers.  Donald Rutledge, an officer with the Tyler
Police Department, testified that C.P. told him the couch was white with gold and green stripes. 
Long stated that Appellant's couch was tan and had "green marks on the pillow."  She also stated that
the couch could have been gold to another person. 

	C.P. could not recall telling the police that the kitchen table was glass.  Gayle Burress, a
marriage and family therapist and forensics expert, testified that C.P. said the coffee table had a glass
top, but that the police officers noted it was wood.  While he was in the apartment, C.P. noticed a
"good scent."  He stated that Appellant had "long brown things" that he burned.  Long and Rutledge
testified that they observed candles in Appellant's apartment.  C.P. also testified that when he told
the police where the incident occurred, he mistakenly said the apartment number was 1702, not 1802. 

	C.P. testified that his grandmother told him to "go wipe myself" before calling the police. 
He stated that he got a pink towel from the bathroom, cleaned himself, and put the towel in the dirty
clothes area.  When his mother arrived, she told him to put on new underwear and put his underwear
in the dirty clothes area.  Jessie Smith, C.P.'s grandmother, stated that she never suggested that C.P.
change his underwear or clean himself up.  She remembered having a pink towel, but never found
it.  Kimberly Mack, a biological screener with the Texas Department of Public Safety Crime Lab,
testified that she conducted presumptive testing of C.P.'s underwear searching for semen, but did not
find any. However, she did not test C.P.'s underwear for saliva. 

	C.P. testified that Appellant told J.B.1 and J.B.2 to leave the playground.  J.B.1 testified that
he and J.B.2 met C.P. at the playground on the day of the occurrence.  He stated that after about thirty
minutes, he went home and left C.P. on the playground.  He recalled that C.P. was talking to
someone, but did not look to see who it was.  He did not recall anyone telling him to leave the
playground that day.  J.B.2 testified that on the day of the incident, he and his brother met C.P. on
the playground.  J.B.2 remembered seeing C.P. talking to a big black man that day.  He stated that
the man was in the backyard on his porch.  However, J.B.2 told the police that he did not see any man
at the playground that day.  Rutledge stated that neither J.B.1 or J.B.2 recalled any male adult on the
playground or near any of the children playing there. 

	C.P.'s description of the couches, candles, and tables in Appellant's apartment was somewhat
inconsistent, and no physical evidence supported the assault.  Further, C.P.'s belief that Appellant
asked his friends to leave the playground was contrary to their testimony.  We are not persuaded,
however, that C.P.'s testimony should be disregarded or that a manifest injustice has occurred.  In
fact, C.P. gave a near contemporaneous account of the assault to his grandmother, police, and the
hospital nurse.  He was also able to identify Appellant from a "photo line up" and show police where
the assault occurred.  Our review of the record as a whole, with consideration given to all of the
evidence, both for and against the finding, has not revealed to us any evidence that causes us to
conclude that the proof of guilt is so obviously weak or is otherwise so greatly outweighed by
contrary proof as to render Appellant's conviction clearly wrong or manifestly unjust.  See Ortiz, 93
S.W.3d at 87; Johnson, 23 S.W.3d at 11; Jones, 944 S.W.2d at 648. Consequently, the evidence is
factually sufficient for the fact finder to find Appellant guilty of aggravated sexual assault as charged
in the indictment.  Accordingly, Appellant's sole issue is overruled.


Disposition

	The judgment of the trial court is affirmed.


								    SAM GRIFFITH   

									   Justice


Opinion delivered February 25, 2009.

Panel consisted of Worthen, C.J., Griffith, J., and Hoyle, J.



(DO NOT PUBLISH)
1.  See Tex. Penal Code Ann. § 22.021 (a)(1)(B)(iii), (2)(B), (e) (Vernon Supp. 2008).
2.  The brothers have identical initials. J.B.1 was ten years old and J.B.2 was six at the time of trial.
3.  If it is shown on the trial of a felony offense other than a state jail felony that the defendant has previously
been finally convicted of two felony offenses, and the second previous felony conviction is for an offense that
occurred subsequent to the first previous conviction having become final, on conviction he shall be punished by
imprisonment for life, or for any term of not more than ninety-nine years or less than twenty-five years. Tex. Penal
Code Ann. § 12.42(d) (Vernon Supp. 2008).


